Case 19-01725-5-DMW         Doc 26 Filed 05/02/19 Entered 05/02/19 11:16:30       Page 1 of 2




                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                RALEIGH DIVISION

 IN RE:                                                                CHAPTER 11

 JOHN S. WON,                                            CASE NO. 19-01725-5-DMW

                 Debtor.

                  NOTIFICATION OF DISPUTED OR UNKNOWN CLAIM
                        RELATED TO CL 45 MW LOAN 1, LLC

          NOW COMES John S. Won, Debtor, by and through counsel, and files this Notification

 of Disputed or Unknown Claim Related to CL 45 MW Loan 1, LLC. The Debtor hereby notifies

 CL 45 MW Loan 1, LLC that its claim is unknown.

          This the 2nd day of May, 2019.

                                            JANVIER LAW FIRM, PLLC

                                            s/ Samantha Y. Moore
                                            Samantha Y. Moore
                                            N.C. State Bar No. 40202
                                            311 E. Edenton Street
                                            Raleigh, NC 27601
                                            Telephone: (919) 582-2323
                                            Facsimile: (866) 809-2379
                                            Email: samantha@janvierlaw.com
Case 19-01725-5-DMW        Doc 26 Filed 05/02/19 Entered 05/02/19 11:16:30           Page 2 of 2




                                CERTIFICATE OF SERVICE

        I, Samantha Y. Moore, do hereby certify that the foregoing NOTIFICATION OF
 DISPUTED OR UNKNOWN CLAIM RELATED TO CL 45 MW LOAN 1, LLC has been
 served upon each of the parties listed below by placing copies of the same in the United States
 mail, postage prepaid or by electronic mail as indicated below.

 Brian Behr (Via CM/ECF)
 Bankruptcy Administrator, EDNC
 434 Fayetteville Street, Suite 640
 Raleigh, NC 27601

 John S. Won (Via CM/ECF)
 92 Blue Violet Way
 Durham, NC 27713

 CL 45 MW Loan 1, LLC
 c/o Richard Prosser
 Womble Bond Dickinson
 555 Fayetteville Street
 Suite 1100
 Raleigh, NC 27601

        This the 2nd day of May, 2019.

                                         JANVIER LAW FIRM, PLLC

                                            s/ Samantha Y. Moore
                                            Samantha Y. Moore
                                            N.C. State Bar No. 40202
                                            311 E. Edenton Street
                                            Raleigh, NC 27601
                                            Telephone: (919) 582-2323
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